                     Case 05-36071-dts            Doc 10   Filed 10/03/05    Entered 10/03/05 14:35:32   Page 1 of 2

Case #05−36071                                                 Western District of Kentucky                                       CHAPTER 13
Debtor: Ray, Ronnie E.                                         US BANKRUPTCY COURT
JT Debtor: Ray, Angela G.
3244 Mt. Eden Rd.                                                                                                  Court Date: October 12, 2005
Mount Eden, KY, 40046                                                                                    Non Business − Outside Jefferson County
Spencer County

                                                                                 Fair
                                   Description                                  Market                         Remarks
                                                                                Value
GE washer and dryer, G                                                                $250
GE side−by−side refrigerator with ice and water dispenser, G                          $350
GE electric range, G                                                                  $125
GE microwave oven, G                                                                   $25
GE dishwasher, G                                                                       $75
Dining table, (4) chairs, G                                                            $75
Bed (queen), dresser with mirror, chest, gun cabinet, G                               $200
Symphonic 19" color TV, G                                                              $50
Sportcraft billiards table, 3' x 8', G                                                $200
Sofa, loveseat, curio cabinet, G                                                      $175
Sofa, loveseat, (2) end tables, coffee table, G                                       $200
RCA 52" color TV, G                                                                   $520
Norcent DVD, G                                                                         $25
Optimus VCR, G                                                                         $20
Bed (twin), bookshelf, G                                                               $75
RCA component stereo system, G                                                         $50
Sanyo 27" color TV with stand, G                                                      $125
Emerson VCR, G                                                                         $20




                                                                       Page 1 of 2
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Spencer County

                                                                                  Fair
                                Description                                      Market                               Remarks
                                                                                 Value
Lot: (2) chests, G                                                                       $50
2004 Ford Mustang, VIN not available, 2 door, 6 cylinder, AC, automatic
transmission, power steering, power brakes, power windows, power locks,
power seats, tilt steering, cruise control, AM/FM Stereo, CD, dual air bags,
maroon exterior, gray fabric interior, tires good, odometer 24,037, overall                  Low Mileage. Not on site; value based on vehicle
condition: good                                                                      $14,175 information and description provided by debtor.
1998 Ford Taurus SE, VIN not available, 4 door, 6 cylinder, AC, automatic
transmission, power steering, power brakes, power windows, power locks,
power seats, tilt steering, cruise control, AM/FM Stereo, cassette, dual air
bags, maroon exterior, gray fabric interior, tires good, odometer 143,125,                   High Mileage. Not on site; value based on vehicle
overall condition: good−fair                                                          $3,075 information and description provided by debtor.
Total                                                                                $19,860




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